905 F.2d 1530Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lloyd S. McINTOSH, Petitioner-Appellant,v.W.J. TOWNLEY;  Commonwealth of Virginia;  Prince WilliamCounty, Respondents-Appellees.
    No. 89-6005.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 20, 1990.Decided May 21, 1990.Rehearing and Rehearing In Banc Denied June 13, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Claude M. Hilton, District Judge.  (C/A No. 88-786-AM)
      Lloyd S. McIntosh, appellant pro se.
      Robert B. Condon, Office of the Attorney General of Virginia, Richmond, Va., for appellees.
      E.D.Va.
      DISMISSED.
      Before K.K. HALL, SPROUSE and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Lloyd S. McIntosh seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  McIntosh v. Townley, C/A No. 88-786-AM (E.D.Va. July 10, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    